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                                                                                              C-580-882
                                                                                                 Remand
                                                                                        CAFC 2019-1213
                                                                                     Court No. 16-00225
                                                                              POI: 1/1/2014 – 12/31/2014
                                                                                       Public Document
                                                                                        E&C/OVI: Team

                                    POSCO v. United States,
                       Consol. Court No. 16-00225 (CIT December 7, 2020)

                           FINAL RESULTS OF REDETERMINATION
                               PURSUANT TO COURT REMAND


I.      SUMMARY

        The Department of Commerce (Commerce) prepared these final results of

redetermination pursuant to the remand order of the U.S. Court of International Trade (CIT),

issued on December 7, 2020, for further proceedings consistent with the opinion issued by the

U.S. Court of Appeals for the Federal Circuit (CAFC) in the same case.1 This action arises out

of the final determination in the countervailing duty (CVD) investigation of certain cold-rolled

steel flat products (cold-rolled steel) from the Republic of Korea (Korea) covering the period

January 1, 2014, through December 31, 2014.2 The CIT’s decision concerning this investigation

was reversed by the CAFC, and in its decision the CAFC vacated and remanded to Commerce its

determination that an alleged provision of electricity for less than adequate remuneration

(LTAR) subsidy program did not confer a benefit and, therefore, was not countervailable.




1
  See POSCO v. United States, 977 F.3d 1369 (Fed. Cir. 2020) (POSCO CAFC); see also POSCO v. United States,
Consol. Court No. 16-00225, CAFC Mandate at 2 (CIT December 7, 2020) (CAFC Mandate).
2
  See Countervailing Duty Investigation of Certain Cold-Rolled Steel Flat Products from the Republic of Korea:
Final Affirmative Determination, 81 FR 49943 (July 29, 2016) (Final Determination), and accompanying Issues and
Decision Memorandum (IDM); see also Certain Cold-Rolled Steel Flat Products from Brazil, India, and the
Republic of Korea: Amended Final Affirmative Determination and Countervailing Duty Order (the Republic of
Korea) and Countervailing Duty Orders (Brazil and India), 81 FR 64436 (September 20, 2016) (Amended Final
Determination).
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        As set forth below, Commerce has reexamined its benefit analysis in the provision of

electricity for LTAR program and further clarified its rationale and use of only the Korea

Electricity Corporation (KEPCO’s) costs in determining that a benefit does not exist and the

program is not countervailable.

II.     BACKGROUND

        On July 28, 2015, AK Steel Corporation, ArcelorMittal USA LLC, Nucor Corporation

(Nucor), Steel Dynamics Inc., and the United States Steel Corporation (collectively, the

petitioners) filed with Commerce CVD and antidumping duty petitions concerning imports of

cold-rolled steel from Korea.3 The petitioners alleged that the Government of Korea (GOK),

through KEPCO, provided countervailable subsidies to Korean producers of cold-rolled steel,

and that the GOK conferred a specific benefit on Korean cold-rolled steel producers through the

provision of electricity for LTAR.4 On August 17, 2015, Commerce initiated a CVD

investigation of cold-rolled steel from Korea.5 On September 15, 2015, following initiation,

Commerce determined to individually examine POSCO and Hyundai Steel Co., Ltd. (Hyundai

Steel) as mandatory respondents in this investigation.6 On September 16, 2015, Commerce

issued a CVD Questionnaire to the GOK, requesting that the GOK provide information about the

Korean electricity industry and market, including KEPCO and the Korean Power Exchange

(KPX).7 On December 22, 2015, Commerce published the Preliminary Determination of this


3
  See Petitioners’ Letter, “Certain Cold-Rolled Steel Flat Products from the Republic of Korea: Petition for the
Imposition of Antidumping and Countervailing Duties Pursuant to Section 701 and 731 of the Tariff Act of 1930, As
Amended; Volume X: Information Relating to Korea – Countervailing Duties,” dated July 28, 2015 (Petition).
4
  See Petition at X-4 – X-15.
5
  See Certain Cold-Rolled Steel Flat Products from Brazil, India, the People’s Republic of China, the Republic of
Korea, and the Russian Federation: Initiation of Countervailing Duty Investigations, 80 FR 51206 (August 24,
2015), and accompanying CVD Investigation Initiation Checklist, dated August 17, 2015 (Initiation Checklist).
6
  See Memorandum, “Countervailing Duty Investigation of Certain Cold-Rolled Steel Flat Products from the
Republic of Korea: Respondent Selections,” dated September 15, 2015.
7
  See Commerce’s Letter, “Investigation of Certain Cold-Rolled Steel Flat Products: Countervailing Duty
Questionnaire,” dated September 16, 2015 (CVD Questionnaire) at section II (page 2-7).

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investigation.8 For the provision of electricity for LTAR program, Commerce found KEPCO to

be an authority and, thus, preliminarily determined that the GOK provided a financial

contribution to cold-rolled producers.9 However, for benefit, because Commerce could not find

any suitable benchmarks within Korea, or a world market price, Commerce conducted a market

principles or, “tier three,” analysis.10 Under this analysis, Commerce examined how KEPCO

calculated its electricity tariff prices for each classification of customer through its price setting

philosophy or price setting mechanism. Commerce determined that costs and return on

investment were included in KEPCO’s electricity prices and the respondents paid the tariff rate

that was applicable to their customer classification, and they were not treated differently from

other industrial users that would purchase comparable electricity.11 Thus, Commerce found that

no benefit was conferred for the program and it was preliminarily determined to be not

countervailable.12

        After the Preliminary Determination, Commerce conducted verification of the GOK’s

questionnaire responses, but it did not verify the GOK’s provision of electricity for LTAR.13

Rather, Commerce relied on the verification it previously conducted in the investigation of

corrosion-resistant steel from Korea, which covered the same period of investigation (POI), and

the same record information before Commerce in the investigation of cold-rolled steel.14 On


8
  See Countervailing Duty Investigation of Certain Cold-Rolled Steel Flat Products from the Republic of Korea:
Preliminary Negative Determination and Alignment of Final Determination with Final Antidumping Duty
Determination, 80 FR 76567 (December 22, 2015) (Preliminary Determination), and accompanying Preliminary
Decision Memorandum (PDM).
9
  Id. at 30.
10
   Id. at 31-33.
11
   Id. at 33-34.
12
   Id. at 34.
13
   See Commerce’s Letter, “Countervailing Duty Investigation: Certain Cold-Rolled Steel Flat Products from the
Republic of Korea; Verification of the Government of Korea,” dated March 7, 2016; see also Memorandum,
“Verification Report: The Government of the Republic of Korea,” dated April 29, 2016.
14
   See Memorandum, “Case Brief Schedule and Submission of Verification Documents to Proceeding,” dated May
3, 2016; see also GOK’s Letter, “Countervailing Duty Investigation of Certain Cold-Rolled Steel Flat Products from
the Republic of Korea (C-580-882): Verification Documents to Proceeding,” dated May 5, 2016.

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July 29, 2016, Commerce published the Final Determination.15 For the provision of electricity

for LTAR program, Commerce addressed parties’ comments and relied on its preliminary

findings and continued to determine that the program did not confer a benefit and was not

countervailable.16 Upon consideration of ministerial error allegations, Commerce issued an

Amended Final Determination on September 20, 2016.17

        In a decision, issued on March 8, 2018, the CIT sustained Commerce’s Final

Determination, finding that Commerce’s determinations challenged by Nucor with regard to the

provision of electricity for LTAR were supported by substantial evidence and otherwise not

contrary to law.18

        On October 15, 2020, the CAFC issued POSCO CAFC, in which it held that Commerce’s

benefit analysis and its failure to investigate the role of KPX in the Korean electricity market was

contrary to law.19 Following POSCO CAFC, Nucor moved unopposed to vacate the CIT’s

decision sustaining Commerce’s Final Determination. Thus, the CAFC vacated the CIT’s

judgment sustaining Commerce’s benefit analysis in the electricity for LTAR program and

remanded the investigation’s final determination for further proceedings.20 The CIT then

remanded the determination to Commerce, directing that Commerce address the CAFC’s opinion

in POSCO CAFC.21

III.    REMANDED ISSUES

        The CAFC questioned Commerce’s Final Determination regarding the provision of

electricity for LTAR in two respects. First, the CAFC held that “{b}ecause Commerce


15
   See Final Determination.
16
   See Final Determination IDM at 43-51.
17
   See Amended Final Determination.
18
   See POSCO v. United States, 296 F. Supp. 3d 1320 (CIT 2018).
19
   Id.
20
   Id.
21
   See Remand Order.

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improperly based its benefit-conferred analysis on a ‘preferential price’ standard, we conclude

that Commerce’s final determination is contrary to law. In addition, Commerce’s failure to

investigate and include KPX’s generation costs in its analysis renders its final determination

unsupported by substantial evidence.”22 Thus, the CAFC remanded the determination to

Commerce to address these two issues. We have addressed each of the above considerations

with respect to the underlying investigation in our analysis below.

IV.      ANALYSIS

         Before we provide a further explanation that the analysis employed by Commerce was

fully consistent with the statutory language set forth in section 771(5)(E)(iv) of the Tariff Act of

1930, as amended (the Act) and then implement the analysis required by the CAFC, we must

address a concern related to the description of the facts made by the CAFC in its holding.

         Every CVD investigation conducted by Commerce is framed by the allegation and the

supporting information provided by the petitioner. Thus, in this proceeding, the investigation of

the provision of electricity for LTAR is framed by the allegation made by petitioners. As noted

above, the petitioners alleged that KEPCO subsidizes electricity to the steel industry by

providing electricity at below market rates.23 Based on the support provided in the Petition,

Commerce initiated an investigation of the provision of electricity, provided by KEPCO, for

LTAR.24

         The CAFC held that Commerce did not request information regarding KPX’s cost of

electricity generation and that Commerce’s determination that KPX was not relevant to its

analysis leaves unresolved whether a benefit was conferred by way of the price charged by KPX



22
   See POSCO CAFC at 1378.
23
   See Petition at X-4-X-15.
24
   See Initiation Checklist at 8.

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to KEPCO. The CAFC held, based on its reading of section 775 of the Act, that “Commerce has

an affirmative duty to investigate any appearance of subsidies related to the investigation that are

discovered during an investigation.”25 The CAFC further held that Commerce failed to

investigate an appearance of a potential subsidy that was disclosed during the investigation

within the Korean government’s own questionnaire response.26

        First, to be clear, we note that KPX’s existence and its role within the Korean electricity

market was not disclosed for the first time in the GOK’s questionnaire response. At the outset of

the investigation, in the initial questionnaire to the GOK, Commerce requested information with

respect to KPX and the Korean electricity market. These questions were: “Explain the roles of

KEPCO, the Ministry of Trade, Industry and Energy, the Ministry of Strategy and Finance, the

Korea Electricity Commission and the Korea Power Exchange {(KPX)} with respect to the

operation of the electricity market in Korea” and “KEPCO pays its subsidiaries the generating

cost when it purchases electricity at {KPX} and that the capital and generating costs are included

in the purchase price. If the price paid is not sufficient to cover all the costs including the

amount of investment return, please explain the costs that are not covered and provide the

additional amount that would need to be paid to cover all costs including an appropriate amount

of investment return. Please make sure to also provide the additional amount in percentage

terms.”27 Commerce also requested the following information: “The price of electricity from

{KPX} reflects an adjusted coefficient that is determined by the Cost Evaluation Committee.

Please explain how the adjusted coefficient was determined; how often the adjusted coefficient is




25
   See POSCO CAFC at 1378.
26
   Id.
27
   See CVD Questionnaire at Section II, page 3, 6 and 7, Questions 13 and 40.

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changed; and provide the adjusted coefficients that were in effect during the {period of

investigation or} POI.”28

        Therefore, the record clearly demonstrates that Commerce, from the very outset of the

investigation, in its initial questionnaire, did request information from the GOK to confirm the

Korean electricity market structure and that the electricity generation cost paid by KEPCO

through KPX reflected the full cost of generating electricity, including an amount of investment

return (profit).29

        Second, the CAFC held that Commerce failed to investigate an appearance of a potential

subsidy. Section 775 of the Act addresses the discovery of countervailable subsidy practices

during a proceeding. Under the statute, if Commerce, in the course of a proceeding, discovers a

practice that appears to be a countervailable subsidy, but that was not included in the matters

alleged in a CVD petition, it: (1) will include the subsidy in its investigation; or (2) transfer the

information regarding the subsidy to the library maintained under section 777(a)(1) of the Act.

Commerce’s obligations under section 775 of the Act are triggered only if Commerce discovers a

“a practice that appears to be a countervailable subsidy,” which is defined in section 771(5) of

the Act. Under section 771(5) of the Act, a countervailable subsidy has three required legal

elements: (1) a financial contribution that (2) confers a benefit which (3) is specific. Thus,

Commerce’s obligation under section 775 of the Act is triggered only when Commerce discovers

a program that appears to have involved a specific financial contribution that conferred a benefit

on the respondent company.




28
  See CVD Questionnaire at Section II, page 7, Question 41.
29
  See GOK’s Letter, “Countervailing Duty Investigation of Certain Cold-Rolled Steel Flat Products from the
Republic of Korea (C-580-882): The Republic of Korea’s Response to the Countervailing Duty Questionnaire,”
(GOK IQR) (BPI version) at 32-33.

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        In the underlying Final Determination, Commerce did not include KPX as a part of our

examination of the provision of electricity for LTAR, as a discovered countervailable subsidy,

because the information on the record regarding KPX did not satisfy all three elements of a

countervailable subsidy as set forth in section 771(5)(B) of the Act. Because the alleged subsidy

involving KPX did not appear to be a countervailable subsidy, the GOK’s questionnaire response

did not trigger Commerce’s obligations under section 775 of the Act. The record evidence

demonstrated that KPX would be defined as an authority under section 771(5)(B) of the Act that

provided a financial contribution, and the petitioners had already established possible specificity

through the provision of electricity for LTAR allegation; however, there was no evidence on the

record indicating a benefit was being provided. The information on the record instead

demonstrated that there was no benefit in the pricing of electricity between KPX and KEPCO.30

Because there was no information on the record to indicate that there was a benefit conferred in

the pricing of electricity between KPX and KEPCO, Commerce properly did not include the

purchase of electricity between KPX and KEPCO as a discovered subsidy within the statutory

definition set forth in section 775 of the Act.31

        Finally, the CAFC held that Commerce’s failure to treat KPX as an authority or, at a

minimum, to investigate whether it is an authority constitutes error as a matter of law.32 The

CAFC explained that, because the GOK’s questionnaire response clarified that KPX was wholly-

owned by KEPCO, and Commerce found in the Final Determination that KEPCO was an

authority under the Act, the evidence therefore “strongly suggests” that KPX is similarly an




30
   Id.
31
   This would also constitute an unusual subsidy allegation because, in essence, the allegation and investigation
would be that the authority defined within 771(5)(B) is subsidizing itself, since KPX is wholly-owned by KEPCO.
32
   See POSCO CAFC at 1378.

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authority for the purposes of section 771(5)(B) of the Act.33 We agree with the CAFC that the

information on the record demonstrates that KPX is wholly-owned by KEPCO. Because

Commerce found KEPCO to be an authority under the Act in the underlying determination,34

KPX, a company wholly-owned by KEPCO, would also be defined as an authority under section

771(5)(B) of the Act.

           However, the mere fact that an entity such as KPX is an authority is not sufficient to

establish the existence of “a practice which appears to be a countervailable subsidy,” as set forth

in section 775 of the Act. As explained above, there was no information on the record to support

the conclusion that KPX’s pricing of electricity provided a benefit as both defined and required

by the statute. Because one of the three requirements set forth in section 771(5)(B) of the Act

was not met, and thus the practice did not qualify as a potential countervailable subsidy

discovered during the course of the investigation, Commerce did not initiate an investigation on

the pricing of electricity between KPX and KEPCO under section 775 of the Act. For these

reasons, as we explain below, while Commerce agrees that KPX is an authority, Commerce

continues to find that KPX’s pricing of electricity does not qualify as a discovered

countervailable subsidy under section 771(5)(B) and 775 of the Act.

Commerce Did Not Base Its Benefit-Conferred Analysis on A “Preferential Price” Standard

           The CAFC held that Commerce relied upon a preferential price analysis, rather than the

standard set forth under section 771(5)(E)(iv) of the Act, with respect to Commerce’s analysis as

to whether KEPCO provided electricity to the respondents for LTAR. While the CAFC

explained that Commerce considered KEPCO’s overall cost, including its operational cost for

generating and supplying electricity, in its analysis, the CAFC held that Commerce’s analysis


33
     Id.
34
     See Preliminary Determination PDM at 30, affirmed in Final Determination IDM at 43-51.

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ultimately relied upon whether respondents were given preferential treatment.35 The CAFC

emphasized the following sentence in the underlying determination as evidence of Commerce’s

reliance on a preferentiality standard: “If the rate charged is consistent with the standard pricing

mechanism and the company under investigation is, in all other respects, essentially treated no

differently than other companies which purchase comparable amounts of electricity, then there is

no benefit.”36 The CAFC, citing to its decision in Nucor CAFC,37 concluded that Commerce’s

use of the pre-Uruguay Round Agreements Act (URAA) preferential-rates standard in this case

is inconsistent with the adequate remuneration standard under section 771(5)(E)(iv) of the Act.

The CAFC further held that Commerce cannot rely on price discrimination to the exclusion of a

thorough evaluation of fair market principles to determine whether a recipient is receiving an

unlawful benefit.38 The CAFC references the language in the Statement of Administrative

Action (SAA) which states that the URAA has replaced preferentiality with the standard of

LTAR. Thus, the CAFC explained that the words used in the statute, understood in their

ordinary sense, make it unreasonable that lack of price discrimination is sufficient to establish

adequacy of remuneration. Therefore, the CAFC concluded that, consistent with its holding in

Nucor CAFC, Commerce’s reliance on a preferential rate standard is inconsistent with the

statute, in particular with the LTAR requirement, and is therefore contrary to law.39

        To be clear, we wish to emphasize that the passage referenced by the CAFC in finding

that Commerce relied on a preferential rate standard was, in fact, not the basis for Commerce’s



35
   See POSCO CAFC at 1374.
36
   See POSCO CAFC at 1374; see also Final Determination IDM at 46. This language was originally developed in
the pre-URAA determination of Magnesium from Canada. See Final Affirmative Countervailing Duty
Determinations: Pure Magnesium and Alloy Magnesium from Canada, 57 FR 30946, 30954 (July 13, 1992)
(Magnesium from Canada).
37
   See Nucor Corp. v United States 927 F.3d 1243 (Fed. Cir. 2019) (Nucor CAFC).
38
   See POSCO CAFC at 1376.
39
   Id.

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adequacy of remuneration analysis. Although the language emphasized by the CAFC was taken

from a pre-URAA determination, Magnesium from Canada, Commerce, in citing this language,

was neither referring to nor implementing a preferentiality standard of benefit analysis for the

provision of electricity.

        As Commerce explained in the underlying determination, the finding that KEPCO’s

provision of electricity to the respondent steel companies did not constitute a countervailable

subsidy was based on Commerce’s analysis of “fair-market principles” in order to determine

whether a benefit was being provided for LTAR.40 Using this statutory standard for its benefit

analysis, Commerce determined “that KEPCO more than fully covered its cost for the industrial

tariff applicable to our respondents.”41 Commerce did not rely on the absence of price

discrimination, but instead relied on the fact that KEPCO fully covered its cost in the industrial

rates charged to the respondent steel companies. In citing to the language from Magnesium from

Canada, Commerce was not referencing a pre-URAA “preferentiality” analysis as a basis for its

conclusion. Rather, Commerce cited to that language to show that Commerce’s analysis was

consistent with the standards set forth in section 771(5)(E)(iv) of the Act, which states that “the

adequacy of remuneration shall be determined in relation to prevailing market conditions for the

good or service being provided … in the country subject to the investigation or review.

Prevailing market conditions include price, quality, availability, marketability, transportation,

and other conditions of purchase or sale.” In reviewing the facts on the record, Commerce found

the record demonstrated that the industrial tariff rates in Korea are based upon costs plus a return

on investment.42 Therefore, consistent with the prevailing market conditions in Korea,



40
   See Final Determination IDM at 50.
41
   Id.
42
   See Preliminary Determination PDM at 32-34; and Final Determination IDM at 43-51.

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Commerce analyzed whether KEPCO’s tariff rates covered its cost plus a return on investment,

and determined “that KEPCO more than fully covered its cost for the industrial tariff applicable

to our respondents.”43

         As indicated by the facts on the record, KEPCO had different industrial tariff classes and

different rates across those industrial tariff classifications based on the cost of providing

electricity to each of those tariff classifications.44 This method of establishing different tariff

classifications based upon price, marketability, transportation and other conditions of purchase or

sale constitutes prevailing market conditions within the meaning of section 771(5)(E)(iv) of the

Act. Therefore, Commerce, in addition to determining that the KEPCO electricity tariffs charged

to the respondent steel companies covered KEPCO’s costs, analyzed whether the respondents

were charged the appropriate tariff based on the prevailing market conditions within Korea.

         KEPCO differentiates its industrial tariff classifications by both contract demand for

electricity and by low-voltage and high voltage.45 Contract demand is further differentiated

between customers with an electricity demand of between 4kW and 300kW and industrial

customers with a contract demand of more than 300kW.46 Moreover, KEPCO’s tariff

classifications are also differentiated by voltage, with the classifications being 220V – 380V

(Low Voltage); more than or equal to 3,300V – 66,000V (High Voltage (A)); 154,000V (High

Voltage (B)); and 345,000V or higher (High Voltage (C)).47 The higher the contract demand and

the higher the voltage, the lower the industrial rate.




43
   Id.
44
   Id.
45
   See GOK IQR at Exhibit E-13.
46
   Id. at Exhibit E-13 at “Industrial Tariff”.
47
   Id. at Exhibit E-13 at “General Information, Supply voltage classification.”

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        As Commerce explained in the Final Determination, with regard to the “tier three”

benchmark used to determine whether the provision of electricity was for adequate remuneration,

KEPCO’s standard pricing mechanism used to develop its tariff schedule was based upon its

costs.48 To develop the electricity schedules that were applicable during the POI, KEPCO first

calculated its overall cost, including an amount for investment return. These costs included the

operational cost for generating and supplying electricity to its customers as well as taxes. The

cost for each electricity classification was calculated by: (1) distributing the overall cost

according to the stages of providing electricity (generation, transmission, distribution and sales);

(2) dividing each cost into fixed cost, variable cost, and the consumer management fee; and (3)

then calculating the cost by applying the electricity load level, peak level, and the patterns of

consuming electricity. Each cost was then distributed into the fixed charge and the variable

charge. KEPCO then divided each cost, taking into consideration the electricity load level, the

usage pattern of electricity, and the volume of electricity consumed. Costs were then distributed

according to the number of consumers for each classification of electricity.49 For the POI,

Commerce concluded that KEPCO more than fully covered its cost for the industrial tariff

applicable to the respondents.50

        Therefore, the record evidence demonstrates that Commerce did not rely on the former

“preferentiality” standard, but rather Commerce relied on the adequacy of remuneration standard

set forth within section 771(5)(E)(iv) of the Act. Citing Softwood Lumber from Canada, the

CAFC explained: “Preferential rate means ‘more favorable to some within the relevant




48
   See Preliminary Determination PDM at 32-34; and Final Determination IDM at 43-51.
49
   Id.
50
   See Final Determination IDM at 50.

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jurisdiction than to others within that jurisdiction.’”51 Commerce, in assessing the price charged

for electricity by KEPCO to the respondents, did not compare the price charged to other

customers in Korea. Rather, Commerce analyzed whether the price charged to the respondents

was consistent with market principles and prevailing market conditions in Korea in the form of

the tariff classifications established by KEPCO. Commerce determined that the price charged to

the respondents by KEPCO “more than fully covered its cost.” If Commerce had relied upon a

“preferentiality” standard instead of the statutory standard set forth under section 771(5)(E)(iv)

of the Act, then the comprehensive analysis of KEPCO’s costs would have been irrelevant;

Commerce merely would have compared the tariff charged by KEPCO to the respondent steel

companies to the highest industrial rate (or the highest rate) set forth in KEPCO’s tariff

schedule.52 Thus, a preferentiality standard would have looked to whether any other company

within the relevant jurisdiction was receiving a higher rate than the respondent steel companies at

issue here.

        Under section 771(5)(E)(iv) of the Act, Commerce is required to carry out its analysis of

adequate remuneration within the context of prevailing market conditions. As stated above,

KEPCO has separate industrial tariff classifications to account for electricity contract demand

and voltage. Furthermore, as Commerce explained in the Final Determination, KEPCO divided

each cost, taking into consideration the electricity load level, the usage pattern of electricity, and




51
   See Final Negative Countervailing Duty Determinations; Certain Softwood Products from Canada, 48 FR 24159,
24167 (May 31, 1983) (Softwood Lumber from Canada).
52
   Under the pre-URAA standard, the law provided that Commerce “would measure whether the government
provided a good or service at a preferential rate based upon, in order of preference, the following benchmarks: (1)
The price the government charges to other parties for the identical or similar good; (2) the price charged by other
sellers within the same political jurisdiction (i.e., country under investigation); (3) the government’s cost of
providing the good or service; or (4) the price paid for that good outside the country under investigation.” See
Preliminary Affirmative Countervailing Duty Determination: Certain Softwood Lumber Products from Canada, 57
FR 8800, 8801 (March 12, 1992).

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the volume of electricity consumed.53 Costs were then distributed according to the number of

consumers for each classification of electricity.54

        Tariff classifications delineated by electricity contract demand, voltage, usage pattern of

electricity, and volume of electricity consumed all fall within the statutory definition of adequate

remuneration set forth within section 771(5)(E)(iv) of the Act, which states that “prevailing

market conditions include price, quality, availability, marketability, transportation and other

conditions of purchase or sale.” Thus, after Commerce determined that KEPCO’s industrial

tariffs more than covered its cost, its analysis was not complete; Commerce was required under

section 771(5)(E) of the Act to determine whether the respondent steel companies had been

charged the appropriate tariff rate in accordance with the criteria set forth in KEPCO’s industrial

tariff classifications. KEPCO’s electricity prices are differentiated by both contract demand for

electricity and by low voltage and high voltage, and cost for each of these tariff classifications

takes into consideration the electricity load level, the usage pattern of electricity, and the volume

of electricity consumed.55 Therefore, even if each industrial tariff more than fully covered

KEPCO’s cost, the tariff charged could still be found to be for LTAR if KEPCO charged a

respondent the rate set forth in the incorrect industrial tariff classification, or otherwise adjusted

the applicable rate to the advantage of the respondent.

        For example,56 let us presume that the respondent steel company had a contract demand

of between 4kW and 300kW and consumed electricity at a voltage of 220V – 380V but was

charged the lower tariff rate for industrial companies that had a contract demand of over 300kW

and consumed electricity at a voltage of 345,000V or higher. In this example, despite the fact


53
   See Preliminary Determination PDM at 33; and Final Determination IDM at 50.
54
   Id.
55
   See GOK IQR at Exhibit E-13; Preliminary Determination PDM at 33; and Final Determination IDM at 50.
56
   See GOK IQR at Exhibit E-13 at “Industrial Tariff.”

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that KEPCO covered its costs within each industrial tariff class, the respondent company was

ultimately charged a lower tariff rate than it should have been charged according to KEPCO’s

own tariff classifications. Under section 771(5)(E) of the Act, this undercharging would still

result in the provision of electricity for LTAR for a respondent steel company that had a contract

demand of between 4kW and 300kW and consumed electricity at a voltage of 220V – 380V.

       Contrary to the implication in POSCO CAFC, this analysis is not a “preferential price”

analysis. The provision of electricity would constitute the provision of a good or service for

LTAR based upon prevailing market conditions that include price and other conditions of

purchase or sale. Price and other conditions of purchase or sale include the electricity demand

charge and low and high voltage, which are part of the prevailing market conditions of the

Korean electricity market under section 771(5)(E)(iv) of the Act. Even after determining that the

industrial tariffs charged by KEPCO are set at rates that cover cost and provide a rate of return, a

rate could nevertheless represent LTAR if a respondent company consumed electricity with a

contract demand of between 4kW and 300kW and at a voltage of 220V – 380V but was charged

the lower tariff applicable to industrial companies that had a contract demand of over 300kW and

consumed electricity at a voltage of 345,000V or higher. This is the meaning of the phrase in the

Final Determination, “essentially treated no differently than other companies which purchase

comparable amounts of electricity.” For these reasons, we continue to find that KEPCO did not

provide electricity for LTAR under section 771(5)(E)(iv) of the Act.

KPX Generating Cost

       The CAFC also held that “Commerce’s failure to investigate and include KPX’s

generation costs in its analysis renders its final determination unsupported by substantial




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evidence.”57 Therefore, the CAFC vacated and remanded to Commerce for further proceedings

consistent with the opinion. Because the CAFC has instructed Commerce to include KPX’s

generation cost in our analysis as to whether electricity was provided to the respondent steel

companies for LTAR, we have done so on remand.

        As explained above, Commerce requested information in its initial questionnaire to the

GOK to determine whether the price for electricity paid by KEPCO through KPX fully covered

all costs for the generation of electricity. These questions were: “KEPCO pays its subsidiaries

the generating cost when it purchases electricity at {KPX} and that the capital and generating

costs are included in the purchase price. If the price paid is not sufficient to cover all the costs

including the amount of investment return, please explain the costs that are not covered and

provide the additional amount that would need to be paid to cover all costs including an

appropriate amount of investment return. Please make sure to also provide the additional amount

in percentage terms.”58

        In addition, Commerce requested the following information: “The price of electricity

from {KPX} reflects an adjusted coefficient that is determined by the Cost Evaluation

Committee. Please explain how the adjusted coefficient was determined; how often the adjusted

coefficient is changed; and provide the adjusted coefficients that were in effect during the

POI.”59 Therefore, Commerce requested information from the GOK to confirm that the

electricity generation cost paid by KEPCO reflected the full cost to KPX of generating

electricity, including an amount of investment return (profit).60




57
   See POSCO CAFC at 1378.
58
   See CVD Questionnaire at Section II, pages 6-7, Question 40.
59
   See CVD Questionnaire at Section II, page 7, Question 41.
60
   See GOK IQR (BPI version) at 32-33.

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          In the 2017 Administrative Review of Cold Rolled Steel, Commerce, pursuant to a

properly alleged and supported upstream allegation regarding the provision of electricity for

LTAR, investigated the selling of electricity to KEPCO through KPX and determined that the

electricity pricing system established by KPX is consistent with market principles and that a

benefit was not conferred.61 Commerce’s subsequent investigation into the pricing of electricity

between KPX and KEPCO confirms the information on the record of this proceeding, which was

submitted in the GOK’s October 30, 2015 Initial Questionnaire Response at page 32-33.

Because Commerce determined that the electricity generation cost paid by KEPCO also reflects

the full cost to KPX of generating electricity, as well as an amount of investment return, we

continue to find that electricity prices established by KPX are consistent with prevailing market

conditions and thus do not provide a benefit under section 771(5)(B) of the Act.

V.        DRAFT REMAND COMMENTS

          On March 10, 2021, Commerce issued its Draft Remand and invited interested parties to

comment.62 On March 19, 2021, Nucor timely filed comments on the draft remand

redetermination.63

Comment 1: Commerce’s Current Adequate Remuneration Analysis in the Context of the

Replaced Preferentiality Standard

         The Draft Remand mischaracterizes Commerce’s preferentiality analysis employed in the

          Final Determination. Despite its attempt to shift focus away from the analysis that it

          performed in the Final Determination, Commerce indeed relied on the pre-URAA


61
   See Certain Cold-Rolled Steel Flat Products from the Republic of Korea: Final Results of Countervailing Duty
Administrative Review; 2017, 85 FR 38361, (June 26, 2020) (2017 Administrative Review of Cold Rolled Steel), and
accompanying IDM at Comment 1.
62
   See Draft Results of Redetermination Pursuant to Court Remand: POSCO v. United States Consol Court No. 16-
00225 (CIT December 7, 2020), issued on March 10, 2021 (Draft Remand).
63
   See Nucor’s Letter, “Certain Cold-Rolled Steel Flat Products from the Republic of Korea: Comments on Draft
Remand Results,” dated March 19, 2021 (Nucor Comments).

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          “preferential rate” analysis in the Final Determination.64 Commerce also applied the

          same preferentiality test in Welded Line Pipe from Korea, where there was no evidence

          of cost recovery on the record or a finding on such evidence.65

         Commerce’s observation of KEPCO’s full recovery of its cost in the Final Determination

          was a brief, off-handed aside at the end of an extended argument that disclaimed any

          obligation to consider cost recovery in a tier three analysis.66 In the final remand

          redetermination, Commerce cannot rely on this statement and must explain how its

          finding comports with the statutory language based on the analysis it actually

          employed.67

         The Draft Remand continues a preferentiality analysis which does not account for the fair

          market value of electricity, and characterizes the standard pricing mechanism analysis as

          a test of “adequate remuneration.”68

         Commerce misconstrues the meaning of “adequate remuneration,” as interpreted by the

          CAFC, and Commerce’s reasoning is flawed because it used the pre-URAA

          preferentiality standard instead of the statutory standard of “adequate remuneration.”69

          Moreover, Commerce’s reasoning is unlawful and contrary to the CAFC’s explanation

          because Commerce treats the prevailing market conditions in the Korean electricity




64
   Id. at 8-10 (citing Magnesium from Canada at 57 FR 30950 and 30954; Final Determination IDM at 46-48; and
Welded Line Pipe from the Republic of Korea: Final Negative Countervailing Duty Determination, 80 FR 61365
(October 13, 2015) (Welded Line Pipe from Korea), and accompanying IDM at 17-18).
65
   Id. at 10 (citing Welded Line Pipe from Korea IDM at 17-18).
66
   Id. (citing Final Determination IDM at 48-50).
67
   Id. at 10-11.
68
   Id. at 11-12.
69
   Id. (citing Nucor at 1250 and 1253).

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          market as coextensive with, and limited to, the tariff classification established by

          KEPCO.70

         Commerce’s analysis circumscribes the scope of the prevailing market conditions in

          Korea and, in doing so, eschews the benchmark analysis by comparing KEPCO’s pricing

          mechanism to itself; thereby perpetuating the same unlawful preferentiality test that the

          CAFC rejected.71 Thus, Commerce may not continue to rely on the standard pricing

          mechanism analysis or circumscribe its analysis to an unlawfully narrow subset of

          “prevailing market conditions.”72

     Commerce’s Position:

          Nucor continues to argue that the methodology employed by Commerce in the Final

Determination, and explained in detail in the Draft Remand, is not compliant with the current

statutory language and employs the old “preferentiality” standard that was in effect prior to the

URAA. We disagree and continue to find that the methodology used in the Final Determination

was consistent with the statutory language governing a determination of whether the government

provision of a good or service is for LTAR. Below, we provide a more thorough discussion of

the old “preferentially” standard, as referenced in the SAA, and as referred to by the CAFC, and

further discussion regarding comments received.




70
   Id. at 12-14 (citing Citric Acid and Certain Citrate Salts: Final Results of Countervailing Duty Administrative
Review; 2012, 79 FR 78799 (December 31, 2014), and accompanying IDM at 84; Nucor at 1251; and POSCO
CAFC at 1377-1378).
71
   Id. at 14-15.
72
   Id. at 24.

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     A. Discussion of “preferentially” standard, as referenced in the SAA, and as referred to

        by the CAFC

        While we fully explained in the Draft Remand why the methodology used in the Final

Determination was consistent with the statutory language governing a determination of whether

the government provision of a good or service is for LTAR, it is still clear from Nucor’s

comments on the Draft Remand that its assumptions of “preferentially” are incorrect. Therefore,

in order to provide further guidance on this issue, Commerce believes that it would be instructive

to all parties to provide a more detailed discussion of the old “preferentially” standard, as

referenced in the SAA, and as referred to by the CAFC.73

        As the CAFC explained in referencing Softwood Lumber from Canada: “Preferential rate

means ‘more favorable to some within the relevant jurisdiction than to others within that

jurisdiction.’”74 Prior to the enactment of the URAA, a countervailable benefit would include

the government “provision of goods or services at preferential rates.”75 Congress did not define

the term or the methodology to be employed in determining whether the government has

provided a good or service at a “preferential rate.” Instead, Congress delegated to the

administering authority, Commerce, to define and develop an employed methodology for

analyzing whether there has been a “provision of goods or services at preferential rates.”76

Accordingly, pursuant to that authority, Commerce explained in Softwood Lumber from Canada,




73
   See Statement of Administrative Action Accompanying the Uruguay Round Agreements Act, H.R. Doc. 103-316,
vol. 1 (1994) (SAA) at 927, “With respect to the provision of goods or services, current law relies on a standard of
“preferentiality” to determine the existence and amount of a benefit. Section 771(5)(E)(iv) replaces this standard
with the standards from Article 14 of the Subsidies Agreement – ‘less than adequate remuneration’ (in the case of
goods or services) and ‘more than adequate remuneration’ (in the case of procurement of goods).” See also POSCO
CAFC at 1376.
74
   See POSCO CAFC at 1371.
75
   Id.
76
   As it did with the “less than adequate remuneration” standard enacted in the URAA. Id. at 1371-72.

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that “preferentiality” did not mean “inconsistent with commercial considerations.”77 Therefore,

in order to determine whether a government has provided a good or service at a preferential rate,

Commerce explained that it would compare the price charged to the respondent to prices the

government charged to the same or other users.78

         In addition, Commerce also recognized in Certain Softwood Products from Canada that

in some cases the number of users of a government-provided good or service might be so limited

that it might require the use of a different benchmark.79 For example, in the administrative

review of the CVD order on Carbon Black from Mexico, the government-provided good in

question was carbon black feedstock (CBFS), for which there were only two users in Mexico.80

Given the limited number of users of CBFS, Commerce determined that its standard test for

determining “preferentiality” would not work.81 In order to determine whether the CBFS had

been provided at a preferential rate, Commerce instead considered alternative benchmarks, and

issued a “Preferentiality Appendix,” as part of this administrative review, describing these

alternatives and requesting public comments.82 These alternatives, in order of preference, were:

(1) prices charged by the same seller for a similar or related good or service; (2) prices charged

within the jurisdiction by other sellers for an identical good or service; (3) the same seller’s cost

of producing the good or service; and (4) external prices.83 In Carbon Black from Mexico,

Commerce used the first alternative. It was not until 1989 that Commerce attempted to codify

these “preferentiality” rules.


77
   See, 48 FR at 24167.
78
   Id. (“The standard contained in subsection (ii) is ‘preferential,’ which normally means only more favorable to
some within the relevant jurisdiction than to others within that jurisdiction.”)
79
   Id. at FR 24167, n.3.
80
    See Carbon Black from Mexico; Preliminary Results of Countervailing Duty Administrative Review, 51 FR
12329, 13271 (April 18, 1986) (Carbon Black from Mexico).
81
   Id.
82
   Id. at 13272.
83
   Id. at 13272-73.

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         On May 31, 1989, Commerce issued its Proposed Rules where it first attempted to codify

its existing methodology based on preferentiality.84 Section 355.44(f) and subsection (f)(1) set

forth the methodology for determining whether a government provided a good or service at

preferential rates, and attempted to codify the standard concept of “preferentiality.”85 Under the

preferentiality methodology, to determine whether a government good or service was provided to

a respondent at a preferential rate, Commerce would determine whether the price charged by the

government for the good or service was less than the benchmark price, which normally would be

the nonselective prices the government charged to the same or other users of the good or service

within the same political jurisdiction. Therefore, under this preferentiality standard, if we were

investigating electricity provided to a respondent, we would simply compare the price that the

government charged the respondent to the price the government charged to other users.86 If the

government sold an input that is generally available (not specific) to other firms in its jurisdiction

at a higher price than to producers of the product under investigation, then this government

action was preferential and the measure of the preference (i.e., the benefit) was the difference

between the two prices charged by the government.87 The Preferentiality Appendix further

stated that this measure of preferentiality, price discrimination by the government, was

Commerce’s preferred test for finding whether the provision of goods conferred a

countervailable benefit.88




84
   See Notice of Proposed Rulemaking and Request for Public Comments, 54 FR 23366 (May 31, 1989) (Proposed
Rules). These Proposed Rules were never finalized.
85
   Id. at 23371-72.
86
   The reference in the proposed regulation to “nonselective” prices means a price or rate that is not limited to a
specific enterprise or industry, or group of enterprises or industries. See, e.g., Proposed Rules at 23368 (section
355.43(b)(1)).
87
   See Preferentiality Appendix, 51 FR at 13272.
88
   Id.

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        In situations such as the one faced by Commerce in Carbon Black from Mexico, where

Commerce found there was no available benchmark using the preferred preferentiality

methodology under subsection (f)(1), Commerce also set forth four alternative benchmarks under

subsection (f)(1); again, taken from the Preferentiality Appendix. These four alternative

benchmarks were: (1) The price, adjusted for any cost differences, the government charges for a

good or service which is similar or related to the good or service in question, provided that the

similar or related good or service and its price is not selective; (2) The price charged by other

sellers to buyers within the same political jurisdiction for an identical good or service; (3) The

government’s cost of providing the good or service; or (4) The price paid for the identical good

or service outside of the political jurisdiction in question.

        The Proposed Rules confirmed that Commerce’s standard of measuring preferentiality

under the pre-URAA methodology was government price discrimination.89 The Preamble to the

Proposed Rules stated that the standard of “preferentiality” within the meaning of the statute is

more favorable treatment to some within the jurisdiction than to others within that jurisdiction.

Therefore, under the Proposed Rules, Commerce would compare the government price under

scrutiny to a benchmark price, which normally would be the prices the government charged to

the same or different users of the good or service within the same political jurisdiction.90 Only

when Commerce could not use this preferred methodology for measuring “preferentiality” by

analyzing whether the government engaged in price discrimination, such as in instances where

there were too few users of the government good or service to establish a “generally available”




89
   See Final Negative Countervailing Duty Determination: Phthalic Anhydride from Venezuela, 59 FR 40868,
40869 (August 10, 1994). Indeed, just four months before the enactment of the URAA, Commerce reemphasized
this standard by stating that “{Commerce}’s preferred benchmark is the non-selective prices the government charges
to the same or other users.”
90
   See Proposed Rules, 54 FR 23372.

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government price, did Commerce develop and use market-based benchmarks such as prices from

private parties, the government’s cost for the good or service, or external prices such as a world

market price. It was these market-based benchmarks that later became the foundation for the

LTAR analysis currently conducted under the post-URAA regulations.

        As can be seen from the above explanation, the traditional pre-URAA standard was to

determine whether the government is providing more favorable treatment to some within its

jurisdiction than to others within that jurisdiction. In Steel Products from Sweden, we compared

the price the government-owned mining company charged the respondent for iron ore to the

price the government-owned mining company charged other customers.91 In IPA from Israel,

Commerce determined whether the provision of rail facilities by the Government of Israel to the

respondent was at a preferential rate compared to the price the government charged other

companies.92 In Groundfish from Canada, to determine whether the Government of Canada was

providing preferential rates to fishermen under the Small Craft Harbour Program, Commerce

compared the fees the government charged to commercial fishermen to the fees the government

charged to other commercial vessels and recreational boaters.93 As evidenced by these

determinations, under the preferentiality standard, Commerce performed a direct comparison of

prices charged to the respondent to prices charged to other companies for the same product or

service. This comparison was done without further analyses regarding the market conditions or

pricing methodologies present in the country, which are required to be carried out under the

current standard set forth in section 771(5)(E).



91
   See Final Affirmative Countervailing Duty Determinations; Certain Carbon Steel Products from Sweden, 50 FR
33375, 33379 (August 19, 1985) (Steel Products from Sweden).
92
   See Final Affirmative Countervailing Duty Determination: Industrial Phosphoric Acid from Israel, 52 FR 25447,
25450-51 (July 7, 1987) (IPA from Israel).
93
   See Final Affirmative Countervailing Duty Determination; Certain Fresh Atlantic Groundfish from Canada, 51
FR 10041, 10046-47 (March 24, 1986) (Groundfish from Canada).

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         As a point of comparison to determinations in which Commerce relied on the old

preferentiality methodology, it is also instructive to review the determinations in Magnesium

from Canada because these determinations demonstrate that Commerce’s development and

application of the standard pricing methodology is not based on price discrimination or

preferentiality. In the Preliminary Determination of Magnesium from Canada, Commerce, in

determining whether the Government of Quebec provided electricity to the respondent at a

preferential rate, relied upon the preferred standard under the preferentiality methodology (i.e.,

simply comparing the rate the government charged our respondent for electricity to the rate the

government charged other industrial users).94 In the final determination, Commerce revised its

analysis, stating that this price discrimination methodology was not appropriate with respect to

the electricity analysis and that we needed to examine whether the price charged to the

respondent was consistent with the power company’s standard pricing mechanism.95 In the

Magnesium from Canada Changed Circumstance Review, we provided further elaboration on the

concept of the standard pricing mechanism.96 To determine whether the respondent’s individual

electricity rate provided a countervailable benefit, Commerce examined the government-owned

utility company’s price setting mechanism and determined that one of the guiding principles in

the setting of the utility company’s rates is that in establishing its electricity tariffs, the rates must




94
   See Preliminary Affirmative Countervailing Duty Determination: Pure and Alloy Magnesium from Canada, 56
FR 63927, 63929-30 (December 6, 1991) (Preliminary Determination of Magnesium from Canada). In this
determination, Commerce stated: “To calculate the benefit under this program, we took the difference between the
rate paid by Norsk Hydro for electricity under its Risk and Profit Sharing contract during the review period and the
weighted-average rate paid by other industrial customers during the review period.
95
   See Magnesium from Canada, 57 FR at 30949-50.
96
   See Preliminary Results of Changed Circumstances Administrative Reviews: Pure Magnesium and Alloy
Magnesium from Canada, 57 FR 47619 (October 19, 1992), unchanged in Final Results, 57 FR 54047 (November
16, 1992) (Magnesium from Canada Changed Circumstances Review).

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reflect the costs of supply associated with each of its various rate categories.97 The Magnesium

from Canada determinations clearly demonstrate that the current methodology involving the

standard pricing mechanism was developed as a distinct and separate methodology from the

previous preferentiality methodology.

        Thus, it is inaccurate to claim that the methodology used by Commerce in the underlying

determination here constitutes the application of a preferentiality standard, as Nucor attempts to

argue in its Comments.

     B. Discussion of comments raised

        The CAFC in POSCO CAFC provided guidance on this issue related to the interpretation

of “preferentiality” with its focus on price discrimination. In the decision, the CAFC stated that

Commerce cannot rely on price discrimination to the exclusion of a thorough evaluation of fair

market principles.98 In articulating this interpretation, the CAFC has highlighted the essential

difference between the pre-URAA preferentiality standard and the URAA standard of LTAR.

The fundamental element of the preferentiality standard was whether the government engaged in

price discrimination in its provision of a good or service, whereas the current standard focuses on

“prevailing market conditions” which include actual market – determined prices, world market

prices, and where these are not available, whether the government price is consistent with market

principles such as the recovery of cost.

        Throughout the course of the underlying investigation, as well as in their comments

submitted in response to the Draft Remand, Nucor has failed to articulate arguments that



97
   This cost standard is consistent with statements made by the CAFC with respect to utility pricing: One need only
look outside the present statutory context to the familiar rate-regulation context to see the great variety of
methodologies used over time to ensure that rates of a monopoly provider are not too low, some directly focus on
value (such as “fair value”), some reflect on various measures of “costs” (which may reflect value). (See Nucor
CAFC at 1254-55).
98
   See POSCO CAFC at 1376.

                                                        27
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demonstrate an understanding of both Commerce’s previous preferentiality methodology, our

current standard pricing methodology, and the differences between the two. The result of

Nucor’s apparent confusion is that in one example, Nucor offers up a methodological argument

which actually reflects Commerce’s standard market principled analysis, while in another

example, Nucor offers up an alternative that undermines the very basis of its primary argument.

          In the first instance, in its case brief submitted in the underlying investigation, Nucor

argued that “cost recovery” is the only basis to measure the adequacy of remuneration when

assessing whether a government price paid for a product is in accordance with market

principles.99 We do not disagree that “cost recovery” is a vital part of an adequacy of

remuneration analysis. In fact, our analysis under the standard methodology is “cost recovery”

plus “a return on investment or profit.”100 Nucor argued that because we were allegedly using a

preferentiality methodology, we were not taking into consideration “cost recovery,” but that

simply is untrue, as demonstrated by the Final Determination.

         In the second instance, Nucor also argued in its case brief that Commerce should use

prices in Japan as the benchmark to determine whether the electricity prices charged by KEPCO

to the Korean respondent steel companies are for LTAR.101 Notably, Nucor’s proposed

electricity benchmarks would be consistent with the benchmark analysis specifically set forth in

both the Preferentiality Appendix and Proposed Rules as benchmarks to determine whether a

government good or service is provided at “preferential rates.” For example, Nucor’s proposed

use of an out of country benchmark, in this case Japan, can be clearly traced to the Preferentiality




99
   See Final Determination IDM at 48 (“Therefore, the argument by Petitioners that we may only use cost in
assessing the adequacy of remuneration is clearly unsupported by the statute and the regulations governing the
provision of a good or service.”); see also Petitioners’ May 16, 2016 Case Brief (Petitioners’ Case Brief) at 21-23.
100
    See Final Determination IDM at 43-51.
101
    See Final Determination IDM at 51 citing Petitioner’s Case Brief at 47-49.

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Appendix102 and the Proposed Rules.103 Yet, as we have explained, Nucor also argues that

Commerce should not use a “preferentiality” standard or benchmark. Accordingly, Nucor’s

argument that we should use these Japanese benchmarks is a contradiction of its own arguments

that we should not use what they classify as a “preferentiality” standard.

         In addition to Nucor’s proposed benchmarks in the Final Determination constituting

methodologies under the preferentiality standard, Nucor’s understanding and approach to both

the pre – and post-URAA standards for determining whether a government’s provision of a good

or service constitutes a countervailable benefit would, confusingly, mean that the CAFC’s

decisions in both Nucor CAFC and POSCO CAFC support the use of a methodology from the

pre-URAA preferentiality standard. That is simply not the case.

         As we have explained, an appropriate methodology under the current post-URAA statute

and implementing regulations, as ruled by the CAFC in both Nucor CAFC and POSCO CAFC, is

one based on cost recovery, a methodology developed under the pre-URAA preferentiality

standard and set forth previously in both the Preferentiality Appendix and the Proposed Rules.

Given that in both Nucor CAFC and POSCO CAFC the CAFC stated that a preferential-rate

standard is inconsistent with the URAA and is therefore contrary to law,104 it would be logically

and legally incorrect to take a position, such as the one espoused by Nucor, that a methodology

developed pre-URAA cannot be compliant with the current statutory provision of LTAR or the

decision made by the CAFC in POSCO CAFC.105


102
    See Preferentiality Appendix alternative benchmark (4) External Prices.
103
    See section 344.44(f)(1) Provision of Goods or Services at Preferential Rates subclause (2)(iv) The price paid for
the identical good or service outside of the political jurisdiction in question.
104
    See Nucor CAFC at 1254 – 1255; POSCO CAFC at 1376.
105
    See Nucor Comments at 9. As a means to argue that the methodology used to determine whether KEPCO
provided electricity at LTAR in the Final Determination was inconsistent with the statute, Nucor states that in
Magnesium from Canada, a case cited to by Commerce, Commerce used the terms “preferential” and “preference.”
Commerce used those terms in other sections of the decision in Magnesium from Canada because those were the


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        Nucor’s incorrect interpretation continues to suffuse its arguments on remand. In the Final

Determination, Commerce stated that “{i}f the rate charged is consistent with the standard pricing

mechanism and the company under investigation is, in other respects, essentially treated no

differently than other companies and industries which purchase comparable amounts of electricity

then there is no benefit.”106 That singular sentence and statement has led Nucor to argue that

Commerce’s methodology is based on “preferentiality,” while at the same time ignoring a

significant amount of evidence on the record showing that description of Commerce’s

methodology to be false. Most importantly, Nucor ignores the fact that in the Final Determination,

Commerce determined no benefit existed through a market principles analysis that examined

KEPCO’s tariff rate setting process that was based on its costs and receiving a rate of return.107

Commerce explained that the phrase cited by Nucor as the basis for its arguments does not stand

for the proposition that the agency used a preferential methodology in the Final Determination

IDM108 and this fact is explained even more extensively below.

        In sum, the statement in the Final Determination referenced by both Nucor and the CAFC

indicates that when the rate charged is consistent with the standard pricing mechanism (in this

case, the electricity tariffs charged to the respondent covers cost plus a return) and the respondent

is treated no differently than other companies that purchase comparable amounts of electricity (in

this case, the rate charged to the respondent is from the correct tariff classification based on its

contract demand for electricity and voltage for that electricity consumption, as this is a market

condition for the provision of electricity in Korea), there is no benefit within the meaning of section


terms referenced in the statute at the time Magnesium from Canada was decided. However, as we have
demonstrated, the current benchmarks used by Commerce since the URAA (private prices within the country under
investigation, world market prices, and costs) are all from the Preferentiality Appendix and the Proposed Rules.
Thus, Nucor’s logic would invalidate the entirety of Commerce’s ability to enforce section 771(5)(E).
106
    See Final Determination IDM at 46.
107
    Id. at 46-50
108
    See Final Determination IDM at 47-48.

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771(5)(E). In other words, if the tariff charged to the respondent does not cover “cost of

production” plus “a profitable return on the investment,” which is the same standard set forth in

KEPCO’s standard pricing methodology, then the respondent has received a countervailable

benefit under section 771(5)(E) of the Act. Moreover, even in the event that the tariff charged to

the respondent covers “costs of production” plus “a profitable return on the investment,” there is

still a countervailable benefit conferred under the statute if KEPCO charges the respondent less

than what they should be charged under their designated tariff classification. An example of this

type of situation would be a scenario in which KEPCO charged the respondent the tariff from an

industrial category for companies that have a higher contract demand of electricity and consume

electricity at a higher voltage.109 In this scenario, KEPCO would be charging the respondent less

than they should be charged under their own tariff classifications, and would thus be providing the

respondent a countervailable benefit under the statute.

         Nucor further argues that the phrase emphasized by both the petitioners and the CAFC110

considers whether certain firms are treated differently than others, and therefore represents an

analysis of price discrimination and preferentiality which the CAFC held is “beyond any

reasonable interpretation of the statute, or of its implementation regulation.”111 As support for

this attempt to classify Commerce’s analysis as a preferentiality analysis, Nucor references the

following statement made by the CAFC in POSCO CAFC: “Commerce cannot rely on price




109
    Putting aside the legal fact that Nucor’s argument is inconsistent with the statute; Commerce does not understand
why Nucor would take a position that is inconsistent with its interests by arguing that if KEPCO’s tariffs fully cover
its “costs of production” plus “a return on its investment” that a countervailable benefit would still not be provided
even if KEPCO provided the steel company with the lower rate applicable to users that consume more electricity
and at a higher voltage.
110
    See Final Determination IDM at 46 (“If the rate charged is consistent with the standard pricing mechanism and
the company under investigation is, in other respects, essentially treated no differently than other companies and
industries which purchase comparable amounts of electricity then there is no benefit.”)
111
    See Nucor Comments at 14-15.

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discrimination to the exclusion of a thorough evaluation of fair market principles.”112 This

statement by the CAFC in POSCO CAFC, however, does not have the meaning that Nucor tries

to argue it has. In Nucor CAFC, the CAFC upheld the identical analysis of KEPCO’s pricing

because Commerce “also found, and gave specific reasons for finding that KEPCO’s pricing met

familiar standards of cost recovery.”113 In POSCO, the basis of this Remand Redetermination,

the CAFC also set forth cost recovery as the appropriate standard, but faulted Commerce for

failing to include KPX’s generation costs in our analysis.114 Therefore, the CAFC has

determined that Commerce’s use of analyzing electricity tariffs using the standard of cost

recovery is an appropriate standard under section 771(5)(E) of the Act. Because KEPCO’s

standard pricing mechanism is based on cost recovery, it is clear from the statement in the Final

Determination (“the rate charged is consistent with the standard pricing mechanism”)115 that

Commerce was not relying “on price discrimination to the exclusion of a thorough evaluation of

fair market principles,” as Nucor claims.

        As the CAFC has correctly noted, the URAA replaced the standard of provision of a good

or service at preferential rates with the standard of LTAR. As set forth within the SAA: “With

respect to the provision of goods or services, current law relies on a standard of ‘preferentiality’

to determine the existence and amount of a benefit. Section 771(5)(E)(iv) replaces this standard

with the standards from Article 14 of the Subsidies Agreement – ‘less than adequate

remuneration’ (in the case of goods or services) and ‘more than adequate remuneration” (in the




112
    Id. at 6 (Citing POSCO CAFC at 1376).
113
    See Nucor CAFC at 1254.
114
    The Remand Redetermination has addressed elsewhere the issue of KPX’s costs, but we would note here that
KPX is not a generator of electricity. See, e.g., GOK IQR at 11 (“Under Article 31 of the {Electricity Business
Law}, the sales and purchases of electricity from generators may be made only through the KPX. KEPCO purchases
electricity from the KPX and transmits and distributes to the customers.”)
115
    See Final Determination IDM at 46.

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case of procurement of goods).”116 Nucor’s argument, when reviewed in the context of this

statement in the SAA, appears to contend that any methodology employed by Commerce that

was developed prior to the URAA constitutes a benefit analysis based on a “preferentiality”

standard. However, this literal approach to the statement made within the SAA is inappropriate

and inapplicable. As explained in the Final Determination, the URAA’s move away from the

preferentiality methodology flipped the regulatory hierarchy, with market prices from the

country under investigation moving up the hierarchy, and other considerations remaining

potentially relevant only if market prices within the country under investigation or world market

prices are not available.117

           Nucor’s argument that Commerce cannot use a methodology for analyzing whether a

government’s provision of electricity is for LTAR because it was developed before the

enactment of the URAA fails because under that claim, Commerce would have little or no ability

to enforce section 771(5)(E) of the Act. As we have already noted, both the Preferentiality

Appendix and the Proposed Rules listed: (1) prices from private sellers within the country

under investigation, (2) world market prices, and (3) the government’s cost of providing the good

or service as potential alternative methodologies that might be used to determine whether the

provision of a good or service is at a preferential rate. Thus, if Nucor’s argument is taken to its

ultimate conclusion, each of these three methodologies is from the pre-URAA “preferentiality”

standard, and thus could not be used to determine whether a good or service is provided for

LTAR. In any case, the argument is illogical, as the methodology used by Commerce, an

analysis of the utility company’s standard pricing methodology, is the only methodology that is

not explicitly referenced in either the Preferentiality Appendix or the Proposed Rules, and was


116
      See SAA at 927.
117
      See Final Determination IDM at 47-48.

                                                 33
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instead developed as an alternative to the preferentiality standard, as evidenced by the

Magnesium from Canada determinations.118

        Finally, it should be made clear that in their comments on the Draft Remand, Nucor

completely misrepresents Commerce’s Final Determination in the underlying investigation.119

In attempting to argue that Commerce relied on a preferentiality standard to make its

determination, Nucor takes various statements from different pages of the Final Determination

IDM, removes any relevant context surrounding those statements, and then attempts to argue that

these isolated statements prove Commerce’s reliance on preferentiality in making its

determination.120 Moreover, certain of the statements that Nucor has referenced from the Final

Determination IDM in support of their argument are from sections where Commerce is

addressing different comments related to different elements of the LTAR analysis made by

petitioners on our tier (iii) analysis under 19 CFR 351.511. This attempt to select single, specific

instances of language, remove all context, and then use that language to conclude Commerce

relied on a preferentiality standard in the underlying Final Determination is a

mischaracterization of Commerce’s analysis; thus, we need not address those arguments further.

    C. Summary

        As explained above, Nucor’s arguments that the methodology employed by Commerce in

the Final Determination, and explained in detail in the Draft Remand, is not compliant with the

current statutory language and employs the old “preferentiality” standard that was in effect prior

to the URAA are without merit. Therefore, we continue to find that the methodology used in the




118
    See Preliminary Determination of Magnesium from Canada, 56 FR at 63929-30; Magnesium from Canada, 57
FR at 30949-50; Magnesium from Canada Changed Circumstances Review, 57 FR 47619, unchanged in Final
Results, 57 FR 54047).
119
    See Nucor Comments at 9-10.
120
    Id.

                                                    34
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Final Determination was consistent with the statutory language governing a determination of

whether the government provision of a good or service is for LTAR.

Comment 2: KPX’s Generation Costs and Commerce’s Finding of No Subsidy Related to

KPX’s Pricing of Electricity to KEPCO

          The draft remand redetermination does not remedy the errors that the CAFC identified

           because Commerce’s explanation on remand that it accounted for the full cost of

           generating and supplying electricity is insufficient and unsupported by the record.121

          Commerce’s mere request for information, in the absence of the provision of the accurate

           and verifiable information by the GOK, is not substantial evidence because the GOK

           provided no data to support its claim.122

          Commerce’s referenced questions in the Draft Remand also did not request the necessary

           information to address the errors cited by the CAFC because those questions were limited

           to requesting information regarding KEPCO’s cost of purchasing electricity through

           KPX. The CAFC held that Commerce’s requested information was insufficient given the

           structure of the transactions and the nature of the relationships among KEPCO, KPX, and

           KEPCO’s generation subsidiaries.123

          Although Nucor raised various comments to ask Commerce to request additional

           information and data regarding KPX’s “Cost Evaluation Committee” and the actual costs

           of generating and supplying electricity, Commerce did not incorporate them in its

           supplemental questionnaires in the course of the investigation, despite the availability of

           the generators’ actual cost data.124


121
    Id. at 15-17 (citing POSCO CAFC at 1376-1378).
122
    Id. at 17-18.
123
    Id.
124
    Id. at 18-20.

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          Commerce’s awareness of the existence and role of KPX at the outset of the investigation

           underscores its error in choosing not to investigate KPX fully and not to request the data

           to develop the record in order to determine whether the prices that the respondents paid

           for electricity reflected the fair market value of electricity.125 The Draft Remand also

           does not address the CAFC’s concerns regarding Commerce’s error and thus remains

           unsupported by substantial evidence.126

          The Draft Remand mischaracterizes the CAFC’s holding that Commerce erred in treating

           KPX as irrelevant in part because it did not consider whether KPX was an “authority” by

           virtue of KPX’s position within KEPCO’s corporate structure.127 Notwithstanding

           Commerce’s arguments in the Nucor appeals, the Draft Remand reverses Commerce’s

           previous position, and suggests that Commerce has never disputed KPX’s “authority”

           status.128

          Commerce instead transforms the CAFC’s holding into an upstream subsidy issue when

           no such allegation was made during the investigation and no such errors were alleged on

           appeal.129 While conceding that KPX has been part of the “authority,” Commerce

           attempts to justify the Final Determination because there was purportedly no information

           on the record to support the conclusion that KPX’s electricity pricing provided a

           benefit.130

          The issue is not whether Commence failed to initiate a separate upstream subsidy

           investigation of the prices that KPX charged KEPCO, but rather whether Commerce


125
    Id. at 20.
126
    Id. at 20-21.
127
    Id. at 21-22 (citing POSCO CAFC at 1378).
128
    Id. at 21-23 (citing Nucor at 1255-1256 and 1261).
129
    Id. at 22 and 24.
130
    Id. at 22-23.

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           erred by treating KPX as irrelevant in the context of the LTAR allegation.131 The Draft

           Remand does not comply with the CAFC’s holding concerning KPX’s status and role as

           one of an “authority’s” wholly owned affiliates and thus remains unlawful and

           unsupported by substantial evidence.132

          Commerce may not exclude KPX from its analysis; it must thoroughly account for the

           role of KPX in the Korean electricity market, and for the actual costs of generation and

           supply.133

          Commerce’s analysis may not be limited to the price that KEPCO pays to acquire

           electricity through KPX, and thus the Draft Remand to rely on KEPCO’s pricing for the

           acquisition of electricity through KPX remains unsupported by substantial evidence.134

Commerce’s Position:

           Nucor argues that Commerce did not follow the instructions from the CAFC because

Commerce failed to include KPX’s generation cost in our analysis, and ultimately referenced

only two questions presented to KPX in the underlying investigation as a part of our analysis.

We agree, in part, with Nucor’s argument that a reference only to the questions posed to KPX

would fail to follow the CAFC’s instructions because these two questions, by themselves, were

not the sole basis of our analysis addressing the issue remanded to us by the CAFC. This

argument made by Nucor oversimplifies our analysis and the evidence cited in support of

Commerce’s Draft Remand. The evidence shows that a countervailable subsidy involving

KPX’s pricing of electricity to KEPCO simply does not exist.




131
    Id. at 23-24.
132
    Id. at 24.
133
    Id.
134
    Id.

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         As is clearly shown in the Draft Remand, the initial reference made to the KPX questions

was made to demonstrate that Commerce did not include KPX as part of our examination of the

provision of electricity for LTAR as a discovered countervailable subsidy because, based on the

information on the record, KPX’s pricing of electricity to KEPCO did not satisfy all three

elements of a countervailable subsidy.135 While Nucor attempts to support its argument by

stating “{i}t is telling that the Draft Remand Results cite only to the questionnaire and not to the

Korean government’s actual questionnaire responses,”136 Commerce in fact made an explicit

reference to the BPI version of the GOK’s Initial Questionnaire Response in the Draft

Remand.137

         As further explanation of the evidence Commerce cited within the Draft Remand, and

because the GOK’s Initial Questionnaire Response is business proprietary, we refer further to

publicly available evidence on the record that clearly demonstrates no subsidy existed related to

KPX’s pricing of electricity to KEPCO. As a part of their Initial Questionnaire Response, the

GOK submitted KEPCO’s Form 20-F filed with the Securities & Exchange Commission in 2015




135
    See Draft Remand at 6-9. On page 23 of Nucor Comments, it is also argued the “Draft Remand Results now
reverse course and concede that the KPX is, and apparently has always been, part of KEPCO the ‘authority’ for
purposes of the Department analysis.” While the point Nucor is trying to make is unclear, Commerce has never
denied that KPX was owned by KEPCO. In the Final Determination, while recognizing that electricity generators
“sell” electricity to KPX and then KEPCO “purchases” that electricity from KPX, we concluded that the costs that
are relevant with respect to KEPCO’s tariff schedule were the purchase price of electricity between KEPCO and
KPX. See Final Determination IDM at 50. The fact that KPX is owned by KEPCO, and is thus itself an authority,
was not part of that decision in the Final Determination. And, as we previously noted, merging KEPCO and KPX
as the identical “authority” would make for an unusual subsidy allegation because, in essence, the allegation would
be that the authority defined within 771(5)(B) is subsidizing itself, since KPX is wholly owned by KEPCO.
Because, we were aware of KPX at the start of the investigation, we did solicit information to ascertain whether the
price of electricity between KPX and KEPCO reflected the full costs of generation. The response from the GOK
showed that this price reflected the full costs of generation. Therefore, based on the allegation and the supporting
documents for that allegation that were submitted in the petition, and exercising the authority delegated to
Commerce by Congress, we did not further examine the pricing of electricity between KPX and KEPCO. The
CAFC disagreed with Commerce on this point and instructed us “to investigate and include KPX’s generation
costs.”
136
    See Nucor Comments at 17.
137
    See Draft Remand at 32-33, n.29.

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(covering the year 2014) (KEPCO 2015 20-F).138 In this public document, the average unit price

(Won per kWh) and average fuel cost (Won per kWh) for each of KEPCO’s generation

subsidiaries are listed.139 In reviewing the listed costs and prices for each of KEPCO’s

generation subsidiaries, it is readily apparent that the KPX unit price more than covered the fuel

costs for each of these generators. The KEPCO 2015 20-F also shows that KEPCO, as a

consolidated entity, was profitable and their revenue was positive in transmission, distribution

and power generation (nuclear and non-nuclear).140 With the evidence on the record clearly

indicating KEPCO was profitable over the POI, it follows that KEPCO satisfied the requirement

under our methodology that they recover not only the cost of production, but also a return on

investment. Lastly, KEPCO’s generation subsidiaries were profitable in 2014 and five of the six

were so profitable that they paid out cash dividends.141 For KPX, the only revenue recorded is

an electricity transaction and membership fee.142 However, the KEPCO 2015 20-F demonstrates

that, taking into account the revenue recorded, KPX also recovered costs during the period.143

With both KEPCO and KPX recovering cost and receiving a return on investment, there is

nothing that indicates that KPX’s pricing of electricity to KEPCO was for LTAR.

        If KPX’s pricing of electricity to KEPCO was for LTAR, KPX would not have been able

to recover its costs during the period, much less receive a return on their investment beyond

merely recovering costs. Thus, the information available on the record of the underlying


138
    See GOK IQR at Exhibit E-3.
139
    Id. at 35, 40 and 42-46 (Korea South-East Power Co., Ltd: 70.46 Won vs. 49.3 Won; Korea Midland Power Co.,
Ltd.: 100.22 Won vs. 76.9 Won; Korea Western Power Co., Ltd.: 101.93 Won vs. 80.4 Won; Korea Southern
Power Co., Ltd.: 111.17 Won vs. 81.43 Won; Korea East-West Power Co., Ltd.: 93.44 Won vs. 70.2 Won; and
Korea Hydro & Nuclear Power Co., Ltd.: 59.95 Won (total)/54.96 (nuclear) vs. 6.3 Won (nuclear only listed)).
140
    Id. at F-9 – F-10 (Consolidated Statements of Comprehensive Income (Loss) and F-41 (Financial Information
{for Segments in 2014}).
141
    Id. at F-68 (Financial Information of Consolidated Subsidiaries) and F-75 (note 9).
142
    See GOK’s November 20, 2015 Supplemental Questionnaire Response at Exhibit SR1-KPX-1, 10 (note 3) and
49.
143
    Id. at 9 (Comprehensive Income Statement).

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investigation establishes that no benefit exists, because KEPCO’s generation subsidiaries

recovered costs in its revenue and, ultimately, KPX’s price to KEPCO also covered costs to KPX

for the POI. Because no benefit existed, all three elements required to establish a countervailable

subsidy were not sufficiently met, and thus no countervailable subsidy existed related to KPX’s

pricing of electricity to KEPCO during the POI.

        Moreover, in the event that the Court wanted additional information with respect to

“KPX’s generation costs,” in the Draft Remand, Commerce referenced the 2017 Administrative

Review of Cold Rolled Steel.144 In the 2017 Administrative Review of Cold Rolled Steel,

Commerce investigated the selling of electricity to KEPCO through KPX and determined that

the electricity pricing system established was consistent with market principles.145 Furthermore,

the thorough investigation of the pricing of electricity between KPX and KEPCO in the 2017

Administrative Review of Cold Rolled Steel confirms the information on the record in the

underlying investigation discussed above, which demonstrates that the price paid by KEPCO to

KPX reflected the full cost of generating electricity, including an amount for investment return

(profit).146 Because Commerce has already conducted a thorough investigation and verification

related to this issue in the 2017 Administrative Review of Cold Rolled Steel, it is unnecessary to

conduct a separate, additional, and duplicative investigation into the same issue for the purposes

of this Remand Redetermination.

        Nucor also argues that the Draft Remand mischaracterized the CAFC’s ruling and

attempted to transform the issue into the investigation of an upstream subsidy, when no such

allegation was made during the investigation.147 We can find no merit in this argument. While


144
    See Draft Remand at 17-18.
145
    Id.
146
    Id.; see also GOK IQR at 33-34 and Exhibit 3 (KEPCO 2015 20-F) at 30-33.
147
    See Nucor Comments at 22.

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the 2017 Administrative Review of Cold Rolled Steel did involve the investigation of an alleged

upstream subsidy, Commerce did not cite that determination because it involved the

investigation of an upstream subsidy. The 2017 Administrative Review of Cold Rolled Steel is

relevant to this Remand Redetermination because it shows Commerce, in the review of the CVD

order that was a result of the affirmative final determination in the underlying proceeding,

investigated and verified the pricing structure between KPX and KEPCO and determined that

these electricity prices fully included all generation costs; and, therefore, were consistent with

market principles.148 This investigation of the pricing between KPX and KEPCO completely

addresses the CAFC’s remand instructions that Commerce “include KPX’s generation costs in its

analysis,” and further confirms the information on the record of the underlying administrative

proceeding at issue here that demonstrates there was no countervailable subsidy related to KPX’s

pricing of electricity to KEPCO during the POI.

        Finally, as we explained in the Draft Remand, we would again point out that Nucor did

not include KPX as part of its LTAR allegation,149 nor did Nucor file a new subsidy allegation

with respect to the pricing of electricity between KPX and KEPCO. While Nucor may have

submitted follow-up questions to Commerce for the KPX during the investigation, an interested

party cannot circumvent the statutory requirement to properly allege a countervailable subsidy by

making a request to Commerce to ask questions on “programs” that have not been properly

alleged. When Commerce reviewed the information submitted to the record by the GOK and



148
    See 2017 Administrative Review of Cold Rolled Steel at 13 (“Commerce reviewed and verified: (1) KPX’s
methodology used to forecast demand; (2) KPX’s methodology to set the system marginal price; (3) the electricity
generator’s reporting requirements to establish variable and fixed costs; and (4) the underlying methodology to
determine the electricity generator’s rates of return and the adjusted coefficient.”)
149
    Although KPX is referenced in Nucor’s allegation on the Provision of Electricity at More Than Adequate
Remuneration, no reference was made to KPX in the allegation related to provision of electricity for less than
adequate remuneration, which is the subsidy at issue in this Remand Redetermination. See Petition at Volume X-27-
X-31.

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determined that all of the elements of a countervailable subsidy had not been met, it satisfied the

agency’s obligations under the regulations to investigate any subsidies discovered during the

course of an investigation related to KPX’s pricing of electricity to KEPCO.

VI.     FINAL RESULTS OF REDETERMINATION

        In accordance with the CAFC’s remand mandate, Commerce has reexamined its benefit

analysis and decision to examine only KEPCO’s costs for the provision of electricity for LTAR

program. For purposes of these final results, Commerce continues to rely upon the Final

Determination to determine that the program does not confer a benefit and is not countervailable.

Therefore, the CVD rates for POSCO and Hyundai Steel from the Amended Final Determination

(i.e., 59.72 percent and 3.89 percent, respectively), for the period of January 1, 2014 through

December 31, 2014, will remain unchanged.

                               4/19/2021



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  Signed by: CHRISTIAN MARSH
________________________
Christian Marsh
Acting Assistant Secretary
for Enforcement and Compliance




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